Case 2:13-cr-06070-SAB ECFNo.1 filed 12/02/13 PagelD.1 Pagelof2

AO 91 (Rev. 01/09) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

Eastern District of Washington us HE COURT. TOM

EASTERN DISTRICT OF WASH

United States of America DEC - 7 2B
) Case No. MJ-13-4363-1 BEAN. NOAVOY. CLES uty

KENNY ROWELL ) ae
Defendant
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date of 04/11/2013 _ in the county of Benton in the Eastem District of
Washington , the defendant violated 21 U.S.C. § 841(a)(1) _, an offense described as follows:

did knowingly and intentionally possess with intent to distribute Methamphetamine, a Schedule {I controlled substance.

This criminal complaint is based on these facts:

See attachment

@ Continued on the attached sheet.

FF

“ Complainant's signature

Kevin Barton, SA Metro Task Force
Printed name and title

Sworn to before me and signed in my presence.

Date: 12] > 13 DP

CJ Judge 's signature

City and state: Yakima, Washington JAMES P. HUTTON, U.S. Magistrate Judge

Printed name and title

AUSA Assigned: Alexander C, Ekstrom
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COMPLAINT ATTACHMENT A

On April 11, 2013, a confidential source (hereinafter CS) working with the Tri-City
Metro Drug Task Force conducted a controlled purchase of methamphetamine from an
individual positively identified by the CS as the Defendant, Kenneth Richard Rowell, in
Benton County, in the Eastern District of Washington. The CS was searched before and
after the transaction, and was found to be free of drugs, money or contraband. The CS
was surveilled to and from the buy location, where the CS was observed meeting with
the Defendant and getting into his vehicle. The CS provided the Defendant with the
previously issued pre-recorded buy funds in exchange for purported methamphetamine.
At the conclusion of the transaction, the CS provided officers with the purported
methamphetamine, which tested presumptively positive for the presence of
methamphetamine. The DEA laboratory testing resulted in a determination that the item
contained 25.9 grams of a mixture and substance containing methamphetamine, with a

purity of 95.1%, and 24.6 grams of actual methamphetamine.

ae rE
KEVIN-BARTON, TASK FORCE AGENT
TRI-CITY METRO DRUG TASK FORCE

Subscribed and sworn before me on this o- day of December, 2013.

CAP Att

HONQGRABLE JAMES P. HUTTON
United States Magistrate Judge
Eastern District of Washington

